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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

...................................................................
JOHN DOE,                        : No. 4:15-cv-2072
                                 :
          Plaintiff,             :
                                 :
     v.                          : (Judge Brann)
                                 :
THE PENNSYLVANIA STATE           :
UNIVERSITY, ERIC BARRON, and     :
DANNY SHAHA,                     :
                                 :
          Defendants.            :
...................................................................
JOHN DOE II,                     : No. 4:15-cv-2108
                                 : Consolidated at No. 4:15-cv-2072
          Plaintiff,             :
                                 :
     v.                          : (Judge Brann)
                                 :
THE PENNSYLVANIA STATE           :
UNIVERSITY, ERIC BARRON, and     :
DANNY SHAHA,                     :
                                 :
          Defendants.            :
...................................................................

                                   ORDER

                                April 4, 2016

FINDINGS & ANALYSIS

     1.   On March 18, 2016, the Court held the first portion of a preliminary

          injunction hearing in this matter.




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2.   The remainder of the preliminary injunction hearing was continued to

     April 5, 2016 to allow for adequate presentation of the remainder of

     the evidence.

3.   On March 31, 2016, counsel for Defendant The Pennsylvania State

     University (hereinafter “the University”) contacted the Court and

     requested a telephonic status conference prior to commencing the

     continued April 5, 2016 preliminary injunction hearing.

4.   The Court scheduled a telephonic status conference for this date, April

     4, 2016, at 11:00 a.m.

5.   During the course of the telephonic status conference, counsel for the

     Defendants informed the Court that the University will institute

     material changes to its disciplinary proceedings as applied to its entire

     student body and will subsequently expunge the results of the specific

     disciplinary proceedings at issue in this case as to both Plaintiffs. The

     University, however, reserves its right to initiate subsequent

     disciplinary proceedings against Plaintiffs, utilizing the amended

     disciplinary proceedings.

6.   As a consequence, Plaintiffs, at this time, are not at a foreseeable risk

     of incurring any immediate academic sanctions or any collateral

     consequences as a result of such sanctions.


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7.   Defendants have filed a Motion to Dismiss Plaintiffs’ Motions for

     Preliminary Injunctive Relief. For the reasons that follow, the Court

     will grant Defendant’s Motion to Dismiss and cancel the remainder of

     the Preliminary Injunction Hearing.

8.   As the Honorable Edwin M. Kosik of this Court, quoting the United

     States Court of Appeals for the Third Circuit, has previously noted,

     “[A]n essential prerequisite to the grant of a preliminary injunction is

     a showing by the movant of irreparable injury pendente lite if the

     relief is not granted.” Johnson v. Ebbert, No. 3:15-CV-578, 2015 WL

     1638612, at *2 (M.D. Pa. Apr. 13, 2015) (quoting United States v.

     Pennsylvania, 533 F.2d 107, 110 (3d Cir.1976)).

9.   Judge Kosik went on to summarize the imminent nature of the

     irreparable injury requirement, as set forth by the Third Circuit, in the

     following discussion:

           A preliminary injunction “may not be used simply to
           eliminate a possibility of a remote future injury.” Holiday
           Inns of Am., Inc. v. B & B Corp., 409 F.2d 614, 618 (3d
           Cir. 1969). “[T]he irreparable harm must be actual and
           imminent, not merely speculative .” Angstadt ex rel.
           Angstadt v. Midd–West Sch., 182 F.Supp.2d 435, 437
           (M.D. Pa. 2002). “[M]ore than a risk of irreparable harm
           must be demonstrated. The requisite for injunctive relief
           has been characterized as a ‘clear showing of immediate
           irreparable injury,’ or a ‘presently existing actual
           threat.’” Continental Grp., Inc. v. Amoco Chems. Corp.,
           614 F.2d 351, 359 (3d Cir. 1980) (citations omitted). “A

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            preliminary injunction cannot be issued based on past
            harm. The purpose of a preliminary injunction is to
            prevent future irreparable harm.” Fisher v. Goord, 981
            F.Supp. 140, 168 (W.D.N.Y. 1997) (emphasis in
            original).

10.   Although alteration of a defendant’s policy mid-litigation in an action

      seeking injunctive relief from that policy is sometimes insufficient to

      moot the underlying action itself, see, e.g., DeJohn v. Temple Univ.,

      537 F.3d 301, 309 (3d Cir. 2008), elimination of the threat of

      irreparable injury suffered by a plaintiff, as here, does often nullify the

      need for emergency injunctive relief.

11.   For instance, in a recent decision, the Honorable Yvette Kane of this

      Court denied a motion for preliminary injunction as moot where a

      prisoner had sought to enjoin prison polices that allegedly interfered

      with his observance of Ramadan, because the plaintiff’s “irreparable

      injury . . . became moot once Ramadan ended.” Barros v. Wetzel, No.

      1:14-CV-01746, 2015 WL 5785746, at *1 (M.D. Pa. Sept. 29, 2015).

      Although the plaintiff argued that the motion should not be denied

      because his observance of Ramadan in subsequent years would be

      similarly impaired, Judge Kane disagreed, reasoning that the plaintiff

      “cannot show that he will be injured with the requisite immediacy to

      warrant a preliminary injunction at this time” and that “the resolution



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      of this case before the next observance of Ramadan would suffice to

      protect Plaintiff's interests.” Id. Judge Kane emphasized that the

      plaintiff was “free to re-raise his motion for a preliminary injunction

      in the future, if this case remains unresolved as the next Ramadan

      observance approaches.” Id.

12.   Applying cases such as Johnson and Barros to the facts of the instant

      matter leads the Court to conclude that the Plaintiffs here no longer

      suffer from the immediate threat of irreparable injury that they once

      did. Specifically, upon the nullification of any disciplinary sanctions,

      the Plaintiffs no longer face academic or collateral consequences.

      Though the prospect of a future deprivation of constitutional rights

      may linger in some form, at this point, such a deprivation is wholly

      speculative and has yet to materialize.

13.   In addition, the Third Circuit in DeJohn v. Temple Univ., 537 F.3d

      301, 309 (3d Cir. 2008), enumerated two “significant” factors for

      evaluating mootness that follows from a policy change in the

      academic setting. Those factors are: (1) the expedience with which the

      defendant university changes its policy after litigation has commenced

      and (2) the extent to which the defendant university continues to

      defend the constitutionality of its prior policy. Id.


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14.   In the Court’s view, the University here as adequately shown a

      willingness to not only depart from its prior sexual harassment

      investigation policies in material ways but to do so in an expedient

      fashion upon the commencement of the instant litigation.

      Accordingly, applying the factors set forth in the DeJohn decision, I

      find that the University here has done enough to moot the need for an

      emergent hearing on the propriety of injunctive relief.

15.   The Court remains mindful to carefully cabin its Order. Specifically,

      the University’s policy revisions have not, at this juncture, mooted the

      underlying dispute. They have only mooted the need for emergency

      injunctive relief. Cases such as DeJohn provide academic institutions

      in this circuit with a sense of the extent and materiality of policy

      revisions that might be necessary to moot in whole an underlying

      constitutional claim in the public school setting.

16.   Moreover, each Plaintiff here is, of course, free to renew his Motion

      for Preliminary Injunctive Relief at the appropriate time. Defendants

      should note that the Court would be understandably unhappy to arrive

      at this very same juncture sometime in the future as a result of the

      amended policy having done little to bolster the due process rights of

      accused students and remedy certain shortcomings evident in the


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      execution of the University’s present “investigative model.” All of

      these considerations are, however, determinations for another day.

17.   As a constitutional matter, federal courts were conceived of to

      function as institutions with vast authority, but limited jurisdiction.

      Failure to abide by the constitutional limitation that federal courts are

      to decide only those cases or controversies appropriately before them,

      does, as the late Justice Antonin Scalia observed, “spring forth from . .

      . [a] diseased root: an exalted conception of the role of this institution

      in America.” United States v. Windsor, 133 S. Ct. 2675, 2698 (2013)

      (Scalia, J., dissenting). Lastly, as the Honorable Learned Hand,

      writing for the United States Court of Appeals for the Second Circuit

      as to the minimalist, restrained approach appropriate of the federal

      judiciary, once properly admonished, “Nor is it desirable for a lower

      court to embrace the exhilarating opportunity of anticipating a

      doctrine which may be in the womb of time, but whose birth is

      distant; on the contrary I conceive that the measure of its duty is to

      divine, as best it can, what would be the event of an appeal in the case

      before us.” Spector Motor Serv. v. Walsh, 139 F.2d 809, 823 (2d Cir.

      1943), vacated sub nom. Spector Motor Serv. v. McLaughlin, 323

      U.S. 101 (1944).


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     AND NOW, this 4th day of April 2016, in accordance with the foregoing

findings and analysis, IT IS HEREBY ORDERED that:

     1.    Defendants’ Motion to Dismiss Plaintiffs’ Motions for Preliminary

           Injunctive Relief, ECF No. 48, is GRANTED.

     2.    Plaintiffs’ Motions for Preliminary Injunctive Relief, 4:15-cv-2072

           ECF No. 3 and 4:15-cv-02108 ECF No. 4, are DENIED AS MOOT.

     3.    The Temporary Restraining Orders issued by this Court on October

           28, 2015 and November 6, 2015 are VACATED.

     4.    The Preliminary Injunction Hearing scheduled to take place before

           this Court on April 5, 2016 is CANCELLED.




                                           BY THE COURT:


                                           /s Matthew W. Brann
                                           Matthew W. Brann
                                           United States District Judge




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